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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CAMPAIGN LEGAL CENTER,
         Plaintiff,                                    Civil Action No. 1:18-cv-00340 (ABJ)

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,
         Defendant.

                                   JOINT STATUS REPORT

        Pursuant to the Court’s Minute Order of August 20, 2019, the parties to the above-

captioned Freedom of Information Act (“FOIA”) submit this joint status report. As the parties

reported in their last joint status report, the parties have settled the only remaining issue in this

case: plaintiff’s claims for attorney’s fees and costs. Defendant’s notice of appeal has been

voluntarily dismissed. The parties agree that no further proceedings are necessary. Therefore, the

parties agree that the matter is closed pursuant to the Court’s final judgment issued on March 15,

2019.

Dated: September 3, 2019                         Respectfully submitted,

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